Case 3:04-cv-00251-HSO-ASH

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
501 E. COURT ST., STE 2.500

JACKSON, MS 39201

OFFICIAL BUSINESS

Document 939

Seiaeitig

Filed 09/12/22 Page 1lof4

ES PO
ree &* ey
Tee * wv f f ~*. Ee |
a = co
eet “Sear PITNEY BOWES

ia 02 1P $ 000.57°
Mig 0000846539 SEP 06 2022
bs? MAILED FROM ZIP CODE 39201

SOUTHERN DISTRICT GF MISSISS!PP:

FILED

SEP 42 2022

ARTHUR JOHNSTON

BY DEPUTY
aoe TP ees G8GS/63/22
RETURN TO SENDER
GT DELIVERABLE AG ADDRESSES
@NABLE TG FORWARD
S2BLEALRZS 1-Q7-a2

i ig 9. 5d t
PEREEVEGTIAET GREG ta
t3 tae ted of gas
Case 3:04-cv-00251-HSO-ASH Document 939

Richard Ferguson
P.O. Box 1767
Phildelphia, MS 39350

wo ee et ee Ste ee eer ee meee

Filed 09/12/22

Page 2 of 4

ae ne ee
9/6/22, 10:07 AMCase 3:04-CV-00251-HOMSRBHVE - WR District Crud HBsissippil saitVe/ DAKREDisplApAgeIB Of 4

MIME-Version:1.0

From: cmecfhelpdesk@mssd.uscourts.gov

To:Courtmail@localhost.localdomain

Bee:

--Case Participants: William C. Pentecost (clintpentecost@yahoo.com,
cpentecost@bakerdonelson.com, glong@bakerdonelson.com, ltraxler@bakerdonelson.com), Marcia
Robinson Lowry - PHV (7595318420@filings.docketbird.com, 8580637420@filings.docketbird.com,
jmacdonald@abetterchildhood.org, mlowry@abetterchildhcod.org, srglasser@abetterchildhood.org),
Jonathan G. Borle - PHV (jborle@abetterchildhood.org), Grace M. Lopes - PHV
(gracemlopes@gmail.com}, Sheila A. Bedi (sheila.a.bedi@gmail.com), Melody McAnally
(ecf.notices@butlersnow.com, melody.mcanally@butlersnow.com, pamela.atkins@butlersnow.com),
Stephen H. Leech, Jr (stephenhleech@aol.com), Stephen A. Dixon - PHV
(sdixonchildadvocate@hotmail.com), Dawn J. Post - PHV (dpost@abetterchildhood.org), Sara
Robinson-Glasser - PHV (dfriedman@loeb.com, srglasser@abetterchildhood.org,
srglasserlaw@gmail.com), Michael J. Bentley (jaltobelli@bradley.com, mbentley@bradley.com,
michael-bentley-3817@ecf.pacerpro.com, sjackson@bradley.com, sruhl@bradley.com), Douglas T.
Miracle-State Gov (doug.miracle@ago.ms.gov, fonda.hellen@ago.ms.gov), Christian D. Carbone -
PHV (ccarbone@loeb.com, nydocket@loeb.com), Anastasia Benedetto - PHV
(abenedetto@abetterchildhood.org), John. A. Piskora - PHV (jpiskora@loeb.com), Harold Edward
Pizzetta, III (fhell@ago.state.ms.us, hpizzetta@umc.edu), Paul Mathis
(paulmathis@bellsouth.net), Reuben V. Anderson (reuben.anderson@phelps.com), Teri Norton
(teri_norton@mssd.uscourts.gov), Eileen Crummy (ecrummy@public-catalyst.com), Lisa Taylor
{(ltaylor@public-catalyst.com), C. Randy Cotton (reotton@baptistchildrensvillage.com), Kevin
Ryan (kevinmichaelryan1967@gmail.com), District Judge Halil S. Ozerden
{ozerden_chambers@mssd.uscourts.gov, sul _ozerden@mssd.uscourts.gov), Magistrate Judge F. Keith
Ball (ball_chambers@mssd.uscourts.gov, denise_kimble@mssd.uscourts.gov,

denise wesley@mssd.uscourts.gov, keith_ball@mssd.uscourts.gov, yvonne jicka@mssd.uscourts.gov)
--Non Case Participants: Kenya Key Rachal-State Gov (kenya.rachal@ago.ms.gov)

--No Notice Sent:

Message-Id:<6314378@mssd.uscourts.gov>
Subject:Activity in Case 3:04-cv-00251-HSO-FKB Johnson, et al v. Barbour, et al Order on
Motion to Withdraw as Attorney

Content-Type: text/html

This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this
e-mail because the mail box is unattended.

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of all
documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply
to all other users. To avoid later charges, download a copy of each document during this first viewing.
“However, if the referenced document isa transcript, the free copy and 30 page limit-do not apply. - - -

USS. District Court
Southern District of Mississippi
Notice of Electronic Filing

The following transaction was entered on 9/6/2022 at 9:52 AM CDT and filed on 9/6/2022

Case Name: Johnson, et al v. Barbour, et al
Case Number: 3:04-cv-00251-HSO-FKB
Filer:

WARNING: CASE CLOSED on 01/04/2008
Document Number: No document attached

Docket Text:
TEXT-ONLY ORDER granting [938] Motion to Withdraw as Attorney. Attorney W. Wayne

hitps://mssd-ecf.sso.dcn/cgi-bin/DisplayReceipt.pl?1 3522784979117-L_1_0-1 1/2
9/6/22, 10:07 AMC ase 3:04-CV-00251-HRWESBHVE - UR BistictCou® RGsissipp| Squg) DIBHRODIspl4y Reveint. of 4

Drinkwater, Jr. terminated. NO FURTHER WRITTEN ORDER SHALL ISSUE. Signed by Magistrate
Judge F. Keith Ball on 9/6/2022. (dcw)

3:04-cv-00251-HSO-FKB Notice has been electronically mailed to:

3:04-cv-00251-HSO-FKB Notice has been delivered by other means to:

2/2
https://mssd-ecf.sso.den/cgi-bin/DisplayReceipt.p!?1 3522784979117-L_1_0-1
